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                EXHIBIT
                  A
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         STATE OF NEW YORK
         SUPREME COURT : COUNTY OF ERIE

         LINDA BALDI-PERRY
         29 Tillinghast Place
         Buffalo, New York 14216,
                                                          SUMMONS
                            Plaintiff,
                                                          Index No.:
               vs.




         EMERSON ELECTRIC COMPANY
         8000 West Florissant Avenue
         St. Louis, Missouri 63136, and

         INSINKERATOR
         4700 Twenty-First Street
         Racine, Wisconsin 53406,

                            Defendants.


         TO THE ABOVE-NAMED DEFENDANTS:

               YOU ARE HEREBY SUMMONED and required to serve upon the plaintiffs

         attorneys, at their address stated below, an answer to the attached complaint.

               If this summons was personally delivered to you in the State of New York,

         the answer must be served within twenty (20) days after such service of the

         summons, excluding the date of service. If the summons was not personally

         delivered to you within the State of New York, the answer must be served within

         thirty (30) days after service of the summons is complete as provided by law.

               If you do not serve an answer to the attached complaint within the

         applicable time limitation stated above, a judgment will be entered against you, by

         default, for the relief demanded in the complaint, without further notice to you.




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               The plaintiff designates Erie County as the place of trial; the basis of the

         venue is the residence of the plaintiff, which is noted on the face of this summons.

               This summons was filed on the date shown above with the Clerk of the Court

         in which this action is brought and assigned the above Index Number.

                               GIVE THESE PAPERS TO YOUR
                           INSURANCE COMPANY IMMEDIATELY.
                         THE FAILURE TO DO SO MAY RESULT IN THE
                           LOSS OF YOUR INSURANCE COVERAGE.

          DATED: Buffalo, New York
                 January 25, 2022




                                                  Joseph is lorath, Jr., Esq.
                                                  CONNO        LP
                                                  Attorne for the Plaintiff
                                                  1000 Liberty Building
                                                  Buffalo, New York 14202
                                                 (716) 852-5533




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         STATE OF NEW YORK
         SUPREME COURT : COUNTY OF ERIE

         LINDA BALDI-PERRY,

                             Plaintiff,                   COMPLAINT

                 vs.                                      Index No.:


         EMERSON ELECTRIC COMPANY, and
         INSINKERATOR,

                             Defendants.


                 The plaintiff, LINDA BALDI-PERRY, by her attorneys, CONNORS LLP,for

         her complaint, alleges that:

                 1.    At all times herein, the plaintiff, LINDA BALDI-PERRY, was and is a

         resident of the City of Buffalo, County of Erie, and State of New York.

                 2.    Upon information and belief, at all times herein, the defendant,

         EMERSON ELECTRIC COMPANY, was and is a foreign corporation, incorporated

         under the laws of the State of Missouri, and doing business in the State of New

         York.

                 3.    Upon information and belief, at all times herein, the defendant,

         INSINKERATOR, was and is a subsidiary company of the defendant, EMERSON

         ELECTRIC COMPANY.

                 4.    Upon information and belief, the defendants, EMERSON ELECTRIC

         COMPANY and INSINKERATOR, were and are in the business of selling new

         garbage disposal units.




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               5.     Upon information and belief, prior to December 28, 2020, the plaintiff,

         LINDA BALDI-PERRY, purchased a Pro 750 Evolution Series garbage disposal unit

         that was designed, manufactured, marketed and/or sold by the defendants,

         EMERSON ELECTRIC COMPANY and INSINKERATOR (hereinafter "the

         garbage disposal unit").

               6.     At all times hereinafter mentioned the plaintiff, LINDA BALDI-

         PERRY, was the sole owner and operator of the garbage disposal unit.

                                    DESCRIPTION OF THE INCIDENT

               7.     On or around December 28, 2020, the plaintiff, LINDA BALDI-PERRY,

         was attempting to clear a jam in the garbage disposal unit, serial number

         19083029047, model PRO 750-2.

               8.     Upon information and belief, at all times herein mentioned, the

         plaintiff, LINDA BALDI-PERRY, was attempting to clear the jam in a manner

         intended and foreseen by the defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR.

               9.     While attempting to clear the jam, the subject garbage disposal

         activated despite having been unplugged and presumed to be in the "off' position,

         causing the plaintiff, LINDA BALDI-PERRY severe and permanent injuries,

         including, but not limited to, a fracture of her right thumb, pain and inflammation

         to the tendons in the right wrist, and the need to undergo surgical intervention to

         repair the damaged tendons in her right wrist.




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               10.    Upon information and belief, the incident was caused solely by the

         carelessness, recklessness, and negligence of the defendants, EMERSON

         ELECTRIC COMPANY and INSINKERATOR, without any negligence on the part

         of the plaintiff, LINDA BALDI-PERRY.

                     FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANTS
                                        (Negligence)

               11.    The plaintiff repeats and realleges each and every allegation in the

         forgoing paragraphs with the same force and effect as if fully set forth herein.

               12.    Upon information and belief, the defendants, EMERSON ELECTRIC

         COMPANY and INSINKERATOR, were in the business of designing, marketing,

         testing, inspecting, selling and distributing garbage disposal units for sale to the

         general public.

               13.    Upon information and belief, the defendants, EMERSON ELECTRIC

         COMPANY and INSINKERATOR, designed, manufactured, tested, inspected, sold

         and distributed the subject garbage disposal.

               14.    The defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR, had a duty to reasonably foreseeable users of its products to

         design, manufacture, test, inspect, sell, and distribute a reasonably safe, functional

         and operational product.

               15.    The defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR,failed to design, manufacture, test, inspect, sell, distribute, or

         otherwise provide a reasonably safe, functional and operational product to

         reasonably foreseeable users.




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               16.    Upon information and belief, the subject garbage disposal was

         negligently and carelessly designed, manufactured, tested, inspected, sold and

         distributed by the defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR.

               17.    The negligence of the defendants, EMERSON ELECTRIC COMPANY

         and INSINKERATOR, was a proximate cause of the injuries to the plaintiff, LINDA

         BALDI-PERRY.

               18.    Upon information and belief, the incident was caused solely by the

         carelessness, recklessness, and negligence of the defendants, EMERSON

         ELECTRIC COMPANY and INSINKERATOR, without any negligence on the part

         of the plaintiff, LINDA BALDI-PERRY.

               19.    This action falls within one or more of the exceptions set forth in CPLR

         Section 1602.

               20.    The amount of damages sought exceeds the jurisdictional limits of all

         lower courts which would otherwise have jurisdiction and the plaintiff will seek

         damages in an amount to be proven and determined at the time of trial.

                    FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANTS
                                        (Strict Liability)

               21.    Upon information and belief, the defendants, EMERSON ELECTRIC

         COMPANY and INSINKERATOR, placed the subject garbage disposal into the

         stream of commerce.

               22.    The subject garbage disposal placed into the stream of commerce

         included defects in design and and/or manufacture.




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               23.    At the time of the manufacture, sale and use, the subject garbage

         disposal was in a defective condition and unreasonably dangerous.

               24.    By exercise of reasonable care, the plaintiff, LINDA BALDI-PERRY

         could not have discovered the defects.

               25.    The defects in the subject garbage disposal proximately caused the

         injuries to the plaintiff, LINDA BALDI-PERRY.

               26.    The defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR, are strictly liable for said injuries and damages to the plaintiff.

               27.    The amount of damages sought exceeds the jurisdictional limits of all

         lower courts which would otherwise have jurisdiction and the plaintiff will seek

         damages in an amount to be proven and determined at the time of trial.

                     FOR A THIRD CAUSE OF ACTION AGAINST DEFENDANTS
                                     (Failure to Warn)

               28.    The plaintiff repeats and realleges each and every allegation in the

         forgoing paragraphs with the same force and effect as if fully set forth herein.

               29.    By exercise of reasonable care, the plaintiff, LINDA BALDI-PERRY,

         could not have discovered the defects in the subject garbage disposal.

               30.    The defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR,failed to provide adequate, clear, precise, and complete

         instructions and warnings for the subject garbage disposal.

               31.    In failing to provide proper instructions and warnings for the garbage

         disposal unit, the defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR,ignored the characteristics of foreseeable users, as well as




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         circumstances under which the garbage disposal unit would have been anticipated

         or expected to be used.

               32.    Upon information and belief, the defendants, EMERSON ELECTRIC

         COMPANY and INSINKERATOR, had notice that the garbage disposal unit was

         dangerous and defective yet failed to take steps to prevent the plaintiff, LINDA

         BALDI-PERRY's, injuries.

               33.    The failure to warn and properly instruct was a proximate cause of the

         plaintiff, LINDA BALDI-PERRY's, injuries.

               34.    The amount of damages sought exceeds the jurisdictional limits of all

         lower courts which would otherwise have jurisdiction and the plaintiff will seek

         damages in an amount to be proven and determined at the time of trial.


                    FORA FOURTH CAUSE OF ACTION AGAINST DEFENDANTS
                                    (Breach of Warranty)

               35.    The plaintiff repeats and realleges each and every allegation in the

         forgoing paragraphs with the same force and effect as if fully set forth herein.

               36.    Upon information and belief, the agents, servants, officers, and/or

         employees of defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR, warranted and represented to the plaintiff and any and all

         consumers of the subject garbage disposal unit, both expressly and impliedly, that

         their products were of merchantable and of fair, average quality, and fit for their

         intended use.




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               37.    The plaintiff, LINDA BALDI-PERRY, relied on the warranty of the

         defendants, EMERSON ELECTRIC COMPANY and INSINKERATOR, when she

         purchased the garbage disposal unit.

               38.    The garbage disposal unit that the plaintiff, LINDA BALDI-PERRY,

         purchased from the defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR, was not merchantable, safe, or fit for its intended purposes

         because it was unreasonably dangerous.

               39.    The defendants, EMERSON ELECTRIC COMPANY and

         INSINKERATOR, breached its express and implied warranties that the garbage

         disposal unit was reasonably safe, merchantable, and fit for its intended purpose.

               40.    As a result of the breach of express and implied warranties by the

         defendants, EMERSON ELECTRIC COMPANY and INSINKERATOR, the

         plaintiff, LINDA BALDI-PERRY, suffered injuries.

               41.    The amount of damages sought exceeds the jurisdictional limits of all

         lower courts which would otherwise have jurisdiction and the plaintiff will seek

         damages in an amount to be proven and determined at the time of trial.

               WHEREFORE,the plaintiff, LINDA BALDI-PERRY, demands judgment

         against the defendants, jointly and/or severally, in each cause of action in an

         amount that exceeds the jurisdictional limits of all lower courts which would

         otherwise have jurisdiction, and in an amount to be proven and determined at the

         trial of this action, together with the costs and disbursements of this action and

         such other and further relief as the court may deem just and proper.




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         DATED: Buffalo, New York
                January 25, 2022




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